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                                                            Attorneys for Plaintiffs Maverix Metals Inc.
                                                            and Maverix Metals (Nevada) Inc.


                                                                                     UNITED STATES DISTRICT COURT
                                                                                      FOR THE DISTRICT OF ALASKA

                                                             MAVERIX METALS INC., a Canadian
                                                             corporation and MAVERIX METALS
                                                             (NEVADA) INC., a Nevada corporation,

                                                                                                 Plaintiffs,

                                                                    v.

                                                             COUER ALASKA, INC., a Delaware
                                                             corporation,

                                                                                               Defendant.         Case No. 1:21-cv-00021-SLG


                                                            Maverix Metals Inc., et al. . v. Couer Alaska, Inc.
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                                                                                      COMPLAINT AND JURY DEMAND

                                                                   For their Complaint against Coeur Alaska, Inc. (“Coeur” or “Defendant”),

                                                            Maverix Metals Inc. (“MMI”) and Maverix Metals (Nevada) Inc. (“MMN”) (collectively

                                                            with MMI, “Maverix” or “Plaintiffs”), allege as follows:

                                                                                                INTRODUCTION

                                                                   1.     Coeur operates the Kensington gold mine outside of Juneau, Alaska.

                                                            Pursuant to a royalty deed, Coeur is obligated to pay Maverix royalties on gold produced

                                                            from Kensington once Coeur has recouped $32.5 million plus “Coeur’s Construction
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                                                            Investment,” as defined in the Royalty Deed. The amount of $32.5 million and Coeur’s
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                                                            Construction Investment are collectively referred to as “Recoupment” in the Royalty Deed.

                                                                   2.     The Royalty Deed provides that Coeur’s Construction Investment can

                                                            include only specific costs and expenditures for the exploration, development and

                                                            construction of the Kensington gold mine that are “determined in accordance with

                                                            generally accepted account principles for metallic mining ventures within the United States

                                                            applied on a consistent basis (hereinafter ‘GAAP’)” (Ex. A at 2), incurred within specific

                                                            time periods, and “attributable to the development and operation of the ‘Properties’” (Id.

                                                            at 4). The specific costs and expenditures are exploration and development costs and direct

                                                            capital costs for the construction of the mine incurred after the effective date of the Royalty

                                                            Deed but prior to the commencement of commercial production, and operating costs

                                                            incurred after the commencement of commercial production but prior to Recoupment.

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                                                                   3.     In mid-2020, based on Coeur’s own financial statements and the

                                                            methodology being used by Coeur to calculate Coeur’s Construction Investment,

                                                            Maverix informed Coeur that it would reach Recoupment within three years and would

                                                            be obligated to start paying Maverix’s royalty at that time. In response, Coeur sent

                                                            Maverix a “revised” statement adding over $158 million in exploration and development

                                                            costs and other expenses Coeur claims to have incurred over the previous ten years after

                                                            the commencement of commercial production but not previously included on any

                                                            statements.
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                                                                   4.     Coeur now contends it is entitled to recoup all of the costs in its “revised”
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                                                            recoupment statement before paying any royalties to Maverix. In other words, after

                                                            being informed that its royalty obligation was about to become payable, Coeur

                                                            retroactively altered the records and methodology applicable to the recoupment

                                                            statements to avoid its contractual obligation to pay royalties to Maverix.

                                                                   5.     Coeur’s addition of purported exploration and development costs after the

                                                            commencement of commercial production and corresponding revision of the recoupment

                                                            statement violate the terms of the Royalty Deed and were made in bad faith. Maverix

                                                            therefore brings this lawsuit to recover damages it has sustained from Coeur’s improper

                                                            conduct and breaches of the Royalty Deed. Maverix also seeks a declaratory judgment to

                                                            establish the appropriate costs to be included in the recoupment calculation and the

                                                            proper method for performing the recoupment calculation.

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                                                                                                    PARTIES

                                                                   6.     MMI is a corporation incorporated under the laws of Canada with a

                                                            principal place of business at 510 Burrard Street, Suite 575, Vancouver, British

                                                            Columbia, V6C 3A8, Canada.

                                                                   7.     MMN is a corporation incorporated under the laws of Nevada with a

                                                            principal place of business at 250 Park Avenue, 7th Floor, New York, New York 10177.

                                                                   8.     Coeur is a corporation incorporated under the laws of Delaware with a

                                                            principal place of business at 104 S. Michigan Avenue, Chicago, Illinois 60603, and a
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                                                            mailing address of 3031 Clinton Drive, Suite 202, Juneau, Alaska 99801.
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                                                                                         JURISDICTION AND VENUE

                                                                   9.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(a) because

                                                            Maverix and Coeur have diverse citizenship and the amount in controversy exceeds

                                                            $75,000, exclusive of interest and costs.

                                                                   10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), as this

                                                            action concerns royalty interests in an Alaskan gold mine located in this district.

                                                                                          FACTUAL ALLEGATIONS

                                                            A.     The Royalty Deed

                                                                   11.    Coeur is a mining company that mines gold from a group of properties

                                                            located about 45 miles north of Juneau, Alaska (“Kensington” or “the Properties”).




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                                                                   12.    Echo Bay Exploration, Inc. (“Echo Bay”) is a subsidiary of Kinross Gold

                                                            Corporation, a third-party mining company.

                                                                   13.    In 1995, Coeur and Echo Bay executed a Royalty Deed for the Properties.

                                                            A true and correct copy of the Royalty Deed is attached hereto as Exhibit A. The

                                                            Royalty Deed is governed by Alaska law.

                                                                   14.    The Royalty Deed entitled Echo Bay to “a Net Returns Royalty interest in

                                                            100% of gold produced from the Properties to a maximum of 1,000,000 troy ounces of

                                                            gold.” (Ex. A at 1.)
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                                                                   15.    Echo Bay would begin receiving royalty payments as soon as Coeur
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                                                            reached “Recoupment,” which the Royalty Deed defines as (1) the sum of $32,500,000,

                                                            plus (2) Coeur’s Construction Investment.

                                                                   16.    The Royalty Deed defines “Coeur’s Construction Investment” as specific

                                                            “expenditures determined in accordance with generally accepted accounting principles

                                                            for metallic mining ventures within the United States applied on a consistent basis

                                                            (hereinafter ‘GAAP’).” (Ex. A at 2.)

                                                                   17.    In defining “Coeur’s Construction Investment,” the Royalty Deed

                                                            distinguishes between expenditures incurred prior to the commencement of commercial

                                                            production from the Properties, and those incurred after commencement of commercial

                                                            production but prior to Recoupment. (Ex. A at 2-4.)




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                                                                   18.    Prior to the commencement of commercial production, Coeur was

                                                            permitted to include “direct capital costs for the construction of a mine and processing

                                                            facility on the Properties,” and certain exploration and development costs “with respect to

                                                            exploring and developing the Properties” when calculating “Coeur’s Construction

                                                            Investment”. (Ex. A at 2, 4.)

                                                                   19.    After the commencement of commercial production, “Coeur’s Construction

                                                            Investment” consisted of operating costs, including mining costs, milling and processing

                                                            costs, general and administrative costs, selling costs, and certain taxes. (Ex. A at 3-4.)
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                                                                   20.    The Royalty Deed also noted that when “costs otherwise includible in
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                                                            Coeur’s Construction Investment are incurred partly for the benefit of any other

                                                            properties or interests of Coeur, only the portion of such costs reasonably attributable to

                                                            development and operation of the Properties in accordance with GAAP shall be included

                                                            in Coeur’s Construction Investment.” (Ex. A at 4.)

                                                                   21.    Coeur was obligated under the Royalty Deed to provide quarterly

                                                            statements to Echo Bay both prior to and after commencement of commercial production

                                                            (hereinafter “Recoupment Statements”). (Ex. A at 5.)

                                                                   22.    Prior to commencement of commercial production, Coeur was required to

                                                            provide Echo Bay with Recoupment Statements that provide “a detailed account, certified

                                                            by Coeur’s chief financial officer, of all costs included in the accrual of Coeur’s




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                                                            Construction Investment during that quarter.” The Recoupment Statements must be

                                                            provided “[b]y the 30th day after each calendar quarter.” (Ex. A at 5.)

                                                                   23.     After the commencement of commercial production, but before reaching

                                                            Recoupment, Coeur was required to provide Echo Bay with Recoupment Statements that

                                                            provide “detailed quarterly accounts by the 30th day following each calendar quarter,

                                                            certified by Coeur’s chief financial officer, showing the amounts and basis of credits

                                                            toward Recoupment until Recoupment is achieved.” (Ex. A at 5.)

                                                                   24.     Coeur was also required to notify Echo Bay that commercial production
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                                                            had begun within 30 days of commencement of commercial production. (Ex. A at 5.)
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                                                                   25.     Commercial production commenced at the Kensington Mine in July 2010.

                                                                   26.     Coeur failed to provide Echo Bay with a single Recoupment Statement

                                                            prior to commencement of commercial production.

                                                                   27.     Coeur failed to inform Echo Bay that commercial production had

                                                            commenced.

                                                                   28.     Coeur failed to provide Echo Bay with any Recoupment Statement until

                                                            August 2017.

                                                            B.     Coeur’s Recoupment Statements

                                                                   29.     In August 2017, Echo Bay notified Coeur of its noncompliance with the

                                                            Royalty Deed and Coeur provided the first quarterly Recoupment Statement to Echo Bay,

                                                            for the second quarter of 2017 (“Original 2017 Q2 Statement”).

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                                                                   30.    The Original 2017 Q2 Statement showed that the amount left until

                                                            Recoupment was $385,812,549. A true and correct copy of that statement is attached

                                                            hereto as Exhibit B.

                                                                   31.    Upon receipt of the Original 2017 Q2 Statement, Echo Bay requested that

                                                            Coeur explain its methodology for calculating Coeur’s Construction Investment in the

                                                            Original 2017 Q2 Statement.

                                                                   32.    In response to Echo Bay’s request, Coeur provided an “updated”

                                                            calculation, because Coeur had erroneously “doubled up on the pre-commercial
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                                                            production costs.” A true and correct copy of Coeur’s email transmitting the updated
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                                                            calculation is attached hereto as Exhibit C.

                                                                   33.    In this revised Recoupment Statement (“Revised 2017 Q2 Statement”), the

                                                            amount remaining until Recoupment was $298,640,322. A true and correct copy of the

                                                            Revised 2017 Q2 Statement is attached hereto as Exhibit D.

                                                                   34.    Coeur continued to provide quarterly Recoupment Statements to Echo Bay

                                                            with no further modifications being requested or proposed by either party to the

                                                            calculations used to produce the statements.

                                                                   35.    According to Coeur’s Recoupment Statement for the third quarter of 2019,

                                                            the amount left until Recoupment was $235,905,712 (the “2019 Q3 Recoupment

                                                            Statement”). A true and correct copy of the 2019 Q3 Recoupment Statement is attached

                                                            hereto as Exhibit E.

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                                                            C.     Maverix Purchases the Royalty

                                                                   36.    Under the Royalty Deed, Echo Bay was free to “assign or encumber its Net

                                                            Returns Royalty and its rights under [the] Royalty Deed.” (Ex. A at 10.)

                                                                   37.    Coeur understood that the Royalty Deed was freely assignable by Echo

                                                            Bay.

                                                                   38.    In December 2019, Maverix purchased Echo Bay’s royalty interest, and

                                                            Echo Bay assigned to Maverix its rights under the Royalty Deed.

                                                                   39.    Prior to purchasing the royalty interest, Maverix reviewed the Recoupment
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                                                            Statements that Coeur had previously provided to Echo Bay.
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                                                                   40.    Maverix relied on the accuracy of Coeur’s Recoupment Statements in

                                                            purchasing the royalty interest.

                                                                   41.    In March 2020, Maverix requested supporting calculations for Coeur’s

                                                            Construction Investment to date. Coeur provided these, as well as the 2019 Q4

                                                            Recoupment Statement, which showed that the amount remaining until Recoupment was

                                                            $225,683,596. Coeur arrived at this number by using the same underlying methodology

                                                            and calculations that Coeur had used since the Revised 2017 Q2 Statement. A true and

                                                            correct copy of the 2019 Q4 Recoupment Statement is attached hereto as Exhibit F.

                                                                   42.    Coeur did not provide Maverix with a 2020 Q1 Recoupment Statement.

                                                                   43.    Coeur provided Maverix with a 2020 Q2 Recoupment Statement, which

                                                            showed the amount remaining until recoupment was $188,971,581. Coeur arrived at this

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                                                            number by using the same underlying methodology and calculations that Coeur had used

                                                            since the Revised 2017 Q2 Statement. A true and correct copy of the 2020 Q2

                                                            Recoupment Statement is attached hereto as Exhibit G.

                                                            D.      Coeur Unilaterally Increases the Amount Remaining to Reach Recoupment

                                                                    44.   In July 2020, Maverix informed Coeur that, based on its analysis of the

                                                            Recoupment Statements to date, Recoupment would be achieved in three years.

                                                                    45.   In August 2020, Coeur responded that it “need[ed] to clarify something on

                                                            the calculation we have been sending.”
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                                                                    46.   Three months later, Coeur sent Maverix the 2020 Q3 Recoupment
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                                                            Statement. In it, Coeur recalculated its Construction Investment for the 2020 Q3

                                                            Recoupment Statement, so that the amount remaining until Recoupment nearly doubled

                                                            to $330,698,923. A true and correct copy of the 2020 Q3 Recoupment Statement is

                                                            attached hereto as Exhibit H.

                                                                    47.   Coeur increased the amount remaining until Recoupment by increasing the

                                                            amount of its Construction Investment, specifically, adding purported costs to its post-

                                                            commercial production exploration and development costs. Some of these purported

                                                            costs dated back to 2010.

                                                                    48.   In total, Coeur added to the 2020 Q3 Recoupment Statement over $158

                                                            million in exploration and development costs and taxes it claimed to have incurred since

                                                            2010.

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                                                                     49.   Included in the Construction Investment are costs Coeur incurred that

                                                            benefit other properties, specifically the Jualin deposit, which is not part of the Properties

                                                            subject to the Royalty Deed.

                                                                     50.   Maverix demanded an explanation for Coeur’s unilateral revision of the

                                                            Recoupment Statement, and specifically, Coeur’s addition of over $158 million in costs

                                                            and taxes it claimed to have incurred after commencement of commercial production

                                                            over the previous decade.

                                                                     51.   Coeur responded that “it had been applying an incorrect standard to the
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                                                            Royalty” for years, but that it had been prompted to reexamine its calculation of the
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                                                            Royalty by “the change in ownership of the Royalty and recent increases in the price of

                                                            gold.”

                                                                                                    CLAIM 1
                                                                                               (Breach of Contract)

                                                                     52.   Maverix realleges and incorporates its allegations contained in the

                                                            preceding paragraphs as though fully set forth herein.

                                                                     53.   Echo Bay and Coeur entered into the Royalty Deed on July 7, 1995.

                                                                     54.   The Royalty Deed contains a binding and enforceable contract to pay

                                                            royalties.

                                                                     55.   Echo Bay performed its obligations under the Royalty Deed.

                                                                     56.   Maverix subsequently purchased Echo Bay’s royalty interest under the

                                                            Royalty Deed, and Echo Bay assigned to Maverix its rights under the Royalty Deed.
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                                                                   57.    Maverix performed its obligations under the Royalty Deed.

                                                                   58.    Coeur materially breached its obligations under the Royalty Deed. Coeur’s

                                                            breaches include, without limitation, increasing its calculation of its Construction

                                                            Investment by retroactively adding costs disallowed by the Royalty Deed, computed in

                                                            violation of GAAP, and/or incurred for the benefit of other properties that are not subject

                                                            to the Royalty Deed.

                                                                   59.    Coeur’s breaches of contract directly and proximately caused damages to

                                                            Maverix in an amount to be proven at trial.
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                                                                                                 CLAIM 2
                                                                         (Breach of Implied Covenant of Good Faith and Fair Dealing)
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                                                                   60.    Maverix realleges and incorporates its allegations contained in the

                                                            preceding paragraphs as though fully set forth herein.

                                                                   61.    Under Alaska law, every contract contains an implied covenant of good

                                                            faith and fair dealing.

                                                                   62.     The Royalty Deed contains a binding and enforceable contract to pay

                                                            royalties.

                                                                   63.    The implied covenant of good faith and fair dealing requires that neither

                                                            party to a contract do anything that will injure the rights of the other party to receive the

                                                            benefits of the contract, and that each contracting party will act in a manner that a

                                                            reasonable person would regard as fair.



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                                                                    64.   On information and belief, Coeur took the actions described above in order

                                                            to avoid its obligations to Maverix as the holder of the royalty interest and Maverix’s

                                                            other rights under the Royalty Deed.

                                                                    65.   In doing so, Coeur breached its implied covenant of good faith and fair

                                                            dealing to Maverix under the Royalty Deed.

                                                                    66.   Coeur’s failure to act in good faith was a breach of the implied covenant of

                                                            good faith and fair dealing that directly and proximately caused damages to Maverix in

                                                            an amount to be proven at trial.
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                                                                                                 CLAIM 3
                                                                           (Negligent Misrepresentation, pleaded in the alternative)
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                                                                    67.   Maverix realleges and incorporates its allegations contained in the

                                                            preceding paragraphs as though fully set forth herein.

                                                                    68.   Coeur provided information regarding the Recoupment balance in the

                                                            course of its business.

                                                                    69.   Based on the “clarification” of the Recoupment balance that Coeur

                                                            provided in late 2020, the information it previously provided regarding the Recoupment

                                                            balance was false.

                                                                    70.   Maverix justifiably relied on the information provided by Coeur before

                                                            December 2019 in deciding to purchase Echo Bay’s royalty interest under the Royalty

                                                            Deed.



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                                                                   71.    In supplying this information, Coeur failed to exercise reasonable care or

                                                            competence in obtaining or communicating the information.

                                                                   72.    As a direct and proximate result of Coeur’s misrepresentations, Maverix

                                                            suffered damages in an amount to be proven at trial.

                                                                                                 CLAIM 4
                                                                                (Declaratory Judgment under 28 U.S.C. § 2201)

                                                                   73.    Maverix realleges and incorporates its allegations contained in the

                                                            preceding paragraphs as though fully set forth herein.
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                                                                   74.    The Declaratory Judgment Act, 28 U.S.C. § 2201, provides that in a case of
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                                                            actual controversy, a court may declare the rights and other legal relations of any
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                                                            interested party seeking such a declaration.

                                                                   75.    This dispute is ripe for adjudication because there exists an actual, present,

                                                            and justiciable controversy between Maverix and Coeur concerning the interpretation of

                                                            the Royalty Deed, what costs may be included in Coeur’s Construction Investment, and

                                                            Coeur’s Recoupment calculation.

                                                                   76.    Maverix and Coeur have each stated opposing views concerning the

                                                            interpretation of the Royalty Deed, what costs may be included in Coeur’s Construction

                                                            Investment, and Coeur’s Recoupment calculation and, consequently, the amount left until

                                                            Coeur reaches Recoupment.

                                                                   77.    This controversy is neither remote nor speculative and has measurable

                                                            financial consequences.
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                                                                    78.   Absent a judicial declaration setting forth the parties’ rights, duties, and

                                                            obligations with respect to this controversy, multiple legal actions may result.

                                                                    79.   The issues raised herein have not been raised in other litigation and are

                                                            appropriately resolved in this action.

                                                                    80.   Accordingly, Maverix is entitled to a declaration concerning the

                                                            interpretation of the Royalty Deed, and specifically, what costs may be included in

                                                            Coeur’s Construction Investment, the appropriate method for Coeur’s Recoupment

                                                            calculation, and the amount left until Coeur reaches Recoupment.
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                                                                                             PRAYER FOR RELIEF
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                                                                    WHEREFORE, Maverix, on its own behalf and as successor to the rights of Echo

                                                            Bay, asks for the following relief:

                                                                    A judgment awarding compensatory damages in favor of Maverix in an amount to

                                                            be proven at trial;

                                                                    A judgment declaring the rights and obligations of the parties under the Royalty

                                                            Deed;

                                                                    Prejudgment and post-judgment interest;

                                                                    An award of costs and attorneys’ fees, including attorneys’ fees under Alaska R.

                                                            Civ. P. 82, to Maverix; and

                                                                    Other and further relief to which Maverix may be entitled upon the final

                                                            adjudication of this action.

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                                                                                                JURY DEMAND

                                                                   Maverix demands a jury on all issues so triable.

                                                             DATED: December 2, 2021             STOEL RIVES LLP

                                                                                                 By:/s/ James E. Torgerson
                                                                                                    JAMES E. TORGERSON (Bar No. 0810062)

                                                                                                  DAVIS GRAHAM & STUBBS LLP
                                                                                                   Jonathan W. Rauchway (Pro Hac Vice Pending)
                                                                                                   Shannon Wells Stevenson (Pro Hac Vice Pending)
                                                                                                   Kristin L. Arthur (Pro Hac Vice Pending)
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                                                                                                 Attorneys for Plaintiffs Maverix Metals Inc.
                                                                                                 and Maverix Metals (Nevada) Inc.
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                                                            Maverix Metals Inc., et al. . v. Couer Alaska, Inc.
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